           Case 2:11-cr-00190-KJM Document 28 Filed 06/06/11 Page 1 of 3


 1   MICHAEL B. BIGELOW
     Attorney at Law
 2   State Bar No. 65211
     428 J Street, Suite 350
 3   Sacramento, CA 95814
     Telephone: (916) 443-0217
 4   Email:mbigelow6401@sbcglobal.net
     Attorney for Defendant
 5   Nicholas Ramirez
 6                  IN THE UNITED STATES DISTRICT COURT
 7             IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,         )   Case No. Cr.S 11-190 GGH/MCE
                                       )
10             Plaintiff,              )   STIPULATION AND ORDER MODIFYING
                                       )   CONDITIONS OF RELEASE
11       vs.                           )
                                       )   ORDER
12   NICHOLAS RAMIREZ,                 )
     TIFFANY BROWN                     )
13                                     )
               Defendant               )
14                                     )
15
         By this Court’s previous order the above named defendants
16
     were ordered, as a condition of their pre-trial release, to have
17
     no contact with each other. Both defendants have been indicted
18

19   for serious drug offenses, carrying with them the potential of

20   lengthy sentences. However, Ms. Brown is pregnant with Mr.

21   Ramirez’ child. Mr. Ramirez and Ms. Brown must be able to meet

22   with each other to discuss their uncertain future, the impact it

23   might have on their unborn child, and to agree on a potentially
24   life altering course of action.
25




                                        -1-
           Case 2:11-cr-00190-KJM Document 28 Filed 06/06/11 Page 2 of 3


 1       Accordingly, the parties stipulate and agree that this
 2   Court’s previous order may be modified to permit the defendants
 3
     to have contact with each other. The order that they not discuss
 4
     any aspect of the pending matter unless in the presence of their
 5
     respective attorneys remains in full force and effect.
 6
                                      ORDER
 7
         PURSUANT TO STIPULATION between the parties, Nicholas
 8
     Ramirez and Tiffany Brown, defendants herein may have contact
 9
     with each other but that during that contact may not discuss any
10
     aspect of this case unless in the company of their respective
11

12   attorneys.

13

14   IT IS SO STIPULATED

15
     /S/ JASON HITT
16   Jason Hitt, Esq.,                            Dated: June 3, 2011
     Assistant United States Attorney
17   Attorney for Plaintiff
18

19
     /S/MICHAEL B. BIGELOW                        Dated: June 3, 2011
20   Michael B. Bigelow
     Attorney for Defendant
21   Nicholas Ramirez

22
     /S/DINA SANTOS                               Dated: June 3, 2011
23   Dina Santos
     Attorney for Defendant
24   Tiffany Brown
25




                                        -2-
              Case 2:11-cr-00190-KJM Document 28 Filed 06/06/11 Page 3 of 3


 1
                                         ORDER
 2

 3
         IT IS ORDERED that pursuant to stipulation and for good
 4
     cause shown the conditions of no contact be modified as stated
 5
     above.
 6

 7
     DATED:    June 6, 2011
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                           -3-
